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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BEATRICE GIRDLER, et al.,

                       Plaintiffs,

               v.                                  Civil Action No. 10-1807 (BAH)
                                                   Judge Beryl A. Howell
UNITED STATES OF AMERICA,

                       Defendant.


                                             ORDER

       Upon consideration of all of the evidence before the Court, including documents admitted

and factual and expert testimony presented at a bench trial, and the parties’ proposed findings of

fact and conclusions of law submitted after the bench trial, the Court concludes that the plaintiffs

have failed to sustain their burden of proof and that judgment must be entered for the defendant.

Accordingly, it is hereby

       ORDERED that, for the reasons explained in the accompanying Memorandum Opinion,

judgment be entered for the defendant.

       SO ORDERED.
                                                                             Digitally signed by Beryl A.
DATED: February 12, 2013                                                     Howell
                                                                             DN: cn=Beryl A. Howell,
                                                                             o=District Court for the
                                                                             District of Columbia,
                                                                             ou=United States District
       This is a final, appealable Order.                                    Court Judge,
                                                                             email=Howell_Chambers
                                                                             @dcd.uscourts.gov, c=US
                                                                             Date: 2013.02.12 16:34:57
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                                                             _______________________
                                                             BERYL A. HOWELL
                                                             United States District Judge
